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                                  EXHIBIT O
                                    Footnote 27
   Business Insider: “Israel’s vaccine pass will expire 6 months after the 2nd dose,
    meaning people will need booster shots to keep going to restaurants and bars”
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    HOME        SCIENCE


    Israel's vaccine pass will expire 6 months after the 2nd dose,
    meaning people will need booster shots to keep going to
    restaurants and bars

    Marianne Guenot Sep 1, 2021, 3:25 AM

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    An Israeli girl receives a dose of COVID-19 vaccine in Tel Aviv, Israel. JACK GUEZ/AFP via Getty Images



         Israel has set an expiration date on its vaccine pass, which enables access to
         restaurants and bars.

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         A booster shot received within five months of the second dose extends the pass'
         validity by six months.


         Israel has already delivered more than 1.9 million boosters, and people aged 12 and
         over are now eligible.




    Israel said its vaccine pass, which grants access to nonessential venues like
    restaurants and bars, now expires six months after the second dose of vaccine.


    Getting a booster shot five months after the second dose resets the clock and extends
    eligibility for the so-called "green pass" by another six months, Israel's health
    ministry announced on Sunday.
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    The news comes as Israel rolls out boosters to most of its population. On Sunday,
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    Israel's health minister granted access to a third shot to all those over the age of 12
    who received a second shot at least five months prior, the Times of Israel reported.


    "From today, the third dose is available to everyone," said Israeli Health Ministry
    Director-General Nachman Ash on Sunday, the Times of Israel reported.




    The pass is also valid within six months of recovery from COVID-19, regardless of
    vaccination status.


    It is required to gain access to a number of nonessential venues such as bars and
    restaurants, The Wall Street Journal previously reported.


    The pass applies to anyone over the age of three. Children who aren't eligible for the
    vaccine can prove their COVID-19 status using a free antigenic test, per Israel's health
    ministry guidance.


    Vaccines remain highly protective against severe disease and death. But data
    suggests their efficacy against infection is waning over time, prompting Israel to roll
    outHboosters
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    The country has been administering booster shots for more than a month. The third
    dose of Pfizer's COVID-19 vaccines first became available to all those over the age of
    80 in late July, and Israel has been gradually extending the age eligibility.


    As of Sunday, about 1.9 million Israelis had received a third dose of COVID-19 vaccine,
    per the Times of Israel.


    This month, the US is also set to roll out boosters to most Americans who got their
    second shot more than eight months ago.


    The UK, Germany, and France have also announced their intention to roll out the
    third shots to more vulnerable populations in September.




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    The World Health Organization has issued a moratorium on booster doses until at
    least the end of September. Vaccine boosters for the "fit and healthy" are a "'luxury'
    item," the WHO said in a statement sent to Insider on Tuesday.



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